Case 5:23-cr-00188          Document 305-4          Filed 07/02/25         Page 1 of 1 PageID #: 1847




To Whom It May Concern:


​       My name is Debora Roberts and I am the mother of Mark Holdren. I cannot express the
emotions going through my mind as I write to you. I would like to start by saying that I know my
son has made unforgivable mistakes. Going through this process has been the hardest thing that he
has ever faced. I am able to say confidently that my son regrets the choices that he made. I have
heard him pray for God’s forgiveness and I have heard him pray for my forgiveness as well.
        Mark took great care of me after my husband’s passing. I would not be here now without
my son supporting me. Mark has gone without countless times, to make sure that he was able to
provide for me and his children. There is not anything that he would not have done just to see me or
his children smile. He is selfless and would do anything for anyone if they needed it.
        I did not raise my son to make the decisions that he did, but he is trying to redeem himself
and become a better person, the person that I raised him to be. I will never be able to understand
the mistakes that he made, but I do understand that he is sorry and would do anything to prove
that he regrets the choices that were made. I have watched my son stop and help strangers in
random parking lots with car trouble, wake up in the early morning and drive hours in order to make
it to work on time, and throw football in the front yard with his son. Although all of these things are
extremely different, these are things that I remember so vividly about my son every day.
        One memory that sticks out to me is when my son saved his daughter from a concussion or
possibly worse. Mark and his daughter Haley were supposed to go fishing. They had their kayaks
loaded, coolers packed with cold gatorades and waters, fishing poles and tackle boxes all in the car.
Haley had donated blood many hours before this but I guess that she had not eaten enough and I
began to watch her pass out in the driveway. I was not strong enough to catch her myself but the
second that I yelled to my son, he wrapped her up in his arms and carried her inside. Needless to
say, that fishing trip was cancelled, but this is the man that I raised.
        Mark taught his children what is right and what is wrong. I have watched my grandkids
grow up without their father for over a year now and no one is to blame except for my son. His
decisions were his and his alone and there are no excuses to make for what happened. My only
request is that you read this letter from the point of view of a parent who wants to see their child
do better. You have my word that Mark will never find himself in a place where letters, such as this
one, need to be written. Mark is a wonderful father, son, nephew, cousin, coworker, friend, and
human. Please show mercy on him and allow him to be a better member of society.


Thank you for your time and consideration,
Debora Roberts
